17-22453-rdd     Doc 70     Filed 05/15/17    Entered 05/15/17 11:45:37          Main Document
                                             Pg 1 of 2


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                    :
 In re:                                             :   Chapter 11
                                                    :
 EAST VILLAGE PROPERTIES LLC, et al.,               :   Case No. 17-22453 (RDD)
                                                    :
                                                    :   (Jointly Administered)
              Debtors.
                                                    :


          NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

               PLEASE TAKE NOTICE that the Ad Hoc Tenant Group appears in the above-

captioned chapter 11 case by their undersigned counsel.

               PLEASE TAKE FURTHER NOTICE that, pursuant to Rules 2002, 3017(a),

9007 and 9010(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), the

undersigned respectfully requests that all notices given or required to be given and all documents

served or required to be served in the above-captioned cases be given and served on the

following, as counsel to the Ad Hoc Tenant Group:

                                      Mark A. McDermott
                                     George A. Zimmerman
                                       Jason N. Kestecher
                                        Thania Charmani
                                       Four Times Square
                               New York, New York 10036-6522
                                   Telephone: (212) 735-3000
                                      Fax: (212) 735-2000
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               PLEASE TAKE FURTHER NOTICE that this request includes not only notice

and papers referred to in the Bankruptcy Rules specified above, but also includes, without

limitation, orders and notices of any application, motion, petition, pleading, plan and disclosure
17-22453-rdd     Doc 70      Filed 05/15/17     Entered 05/15/17 11:45:37         Main Document
                                               Pg 2 of 2


statement, request, complaint or demand, whether formal or informal, whether written or oral,

whether transmitted or conveyed by mail, courier service, hand delivery, telephone, facsimile

transmission, electronic mail, the internet, or other otherwise filed or made with regard to these

cases, which affects or seeks to affect in any way any rights or interest of any party in interest in

these cases.

               PLEASE TAKE FURTHER NOTICE that neither this entry of appearance nor

any subsequent appearance, pleading, claim, or suit is intended or shall be deemed to waive the

Ad Hoc Tenant Group’s right (i) to have final orders in non-core matters entered only after de

novo review by a United States District Court judge; (ii) to trial by jury in any proceeding so

triable herein or in any case, controversy, or proceeding related to these cases; (iii) to have the

United States District Court withdraw the reference in any matter subject to mandatory or

discretionary withdrawal; or (iv) to have documents served in accordance with Federal Rule of

Bankruptcy Procedures 7004 and Federal Rule of Civil Procedure 4, or to any other rights,

claims, actions, defenses, setoffs, or recoupments, under agreements, in law, in equity or

otherwise, all of which rights, claims, actions, defenses, setoffs, and recoupments are expressly

reserved.

Dated: New York, New York
       May 15, 2017
                                           /s/ Mark A. McDermott
                                           Mark A. McDermott
                                           George A. Zimmerman
                                           Jason N. Kestecher
                                           Thania Charmani
                                           Four Times Square
                                           New York, New York 10036-6522
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                                           Counsel to the Ad Hoc Tenant Group



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